 

Case 5:13-cv-11179-JCO-LJIM ECF No. 1, PagelD.1 Filed 03/18/13 Page 1of 5

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

UNITED STATES OF AMERICA § Claim No: 1998A13899
§
VS. §
§
Cassander Greene
COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

1. This Court has jurisdiction over the subject matter of this action pursuant to Article If,
Section 2, U.S. Constitution and 28 U.S.C. § 1345.

Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this
Court and may be served with service of process at 943 Alter Road, Apt. 404, Detroit, Michigan
48215,

The Debt

3. The debt owed the USA is as follows:

A, Current Principal (after application of all $591.43
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $1,122.08

Accrued Interest

C, Administrative Fee, Costs, Penalties $8.28

D, Credits previously applied (Debtor payments, $0.00

credits, and offsets)

 

 
Case 5:13-cv-11179-JCO-LJIM ECF No. 1, PagelD.2 Filed 03/18/13 Page 2 of 5

E, Attorneys fees $0.00
Total Owed $1,721.79

The Certificate of Indebtedness, attached as Exhibit A", shows the total owed excluding
attorney's fees and CIF charges. The principal balance and the interest balance shown on the Certificate
of Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 8.000% per annum.

Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A, For the sums set forth in paragraph 3 above, plus prejudgment interest through the date
of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C, §

1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmanlaw.com
 

U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

CASSANDER GREENE
AKA: N/A

5631 ROOSEVELT ST.

DETROIT, MI. 48208-1464.

SSN:
Total debt due United States as of 12/08/97: $ 1,001.75

I certify that U.S. Department of Education records show that the debtor named above is indebted
to the United States in the amount stated above, plus additional interest on the principal balance
of $ 591.43 from 12/08/97 at the annual rate of 8.00 percent. Interest accrues on the principal
amount of this debt at arate of $ 0.13 per day.

The claim arose in connection with a Government insured or guaranteed loan made by a private
lender and assigned to the United States.

On 05-20-87, the debtor executed promissory note(s) to secure the loan(s) from FIRST BANK,
(N.A. }, MILWAUKEE, WISCONSIN, under loan guaranty programs authorized under

Title IV-B of the Higher Education Act of 1965, as amended, 20 U.S.C 1071 et seq.

(34 C.F.R. Part 682). The holder demanded payment according to the terms of the note(s) and
on 09-04-88 the debtor defaulted on the obligation.

Pursuant to 34 C.F.R. 682.202 and/or terms of the promissory note(s) the holder(s) capitalized
interest accrued to the original lender in the amount of $ 38.85 thereby increasing the principal
balance dueto$ 591.43.

After application of the last voluntary payment of $0.00 which was received on N/A the debtor
now owes the following :

Principal: $ 591.43
Interest: $ 402.04
Administrative/ Collection Costs: $ 8.28
Penalties: $ 0.00

CERTIFICATION: Pursuant to 28 U.S.C. Section 1746, I certify under penalty of perjury
that the foregoing is true and correct.

(Date’

    

Loan Analyst-Litigation Branch

 

 
 

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2) A reasonable extension of time for making payments.

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